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                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )
                                          )     NO. 2:10-CR-136-DBH-03
HASAN WORTHY,                             )
                                          )
                      DEFENDANT           )


                                PROCEDURAL ORDER


         In preparation for discussing the speedy trial issues raised by the

defendant’s Motion to Dismiss (ECF No. 618) at the trial management

conference scheduled for July 16, 2012, counsel should review the following

cases:

         United States v. Stephens, 489 F.3d 647 (5th Cir. 2007);

         United States v. Childers, 2008 WL 3059135 (11th Cir. 2008);

         United States v. Clarke, 10-CV-700, 2011 WL 3880923 (N.D. Ga. Aug. 9, 2011);

         United States v. Rauls, No. CR507-021, 2009 WL 507041 (S.D. Ga. Feb. 27,
         2009);

         United States v. Douglas, No. CR507-015, 2009 WL 773598 (S.D. Ga. Mar. 20,
         2009).

         SO ORDERED.

         DATED THIS 12TH DAY OF JULY, 2012

                                                /S/D. BROCK HORNBY
                                                D. BROCK HORNBY
                                                UNITED STATES DISTRICT JUDGE
